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UNITED STATES DISTRICT COURT                                    7/8/2024
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                 20 Cr. 652 (VM)
                 - against -
                                                 ORDER
ZAVEN YERKARYAN,

                       Defendant.


VICTOR MARRERO, United States District Judge.

     The defendant’s request (see Dkt. No. 428) that the Court

postpone his self-surrender date is hereby DENIED. The Court

hereby recommends that the Bureau of Prisons designate the

defendant   to   a   facility   where   the   defendant   may    obtain

appropriate medical treatment for his health condition.

SO ORDERED.

Dated:      8 July 2024
            New York, New York




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